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10

11                       UNITED STATES DISTRICT COURT
12               FOR THE CENTRAL DISTRICT OF CALIFORNIA
13
     ANTHONY WRIGHT, individually;    ) CASE NO.: 5:25-cv-917
14   NICOYA WRIGHT, individually;     )
     L.W., H.W., and A.G., individually by
                                      ) COMPLAINT FOR DAMAGES
15   and through their Guardian Ad Litem
                                      )
     NICOYA WRIGHT;                   ) 1. Excessive Force, Fourteenth
16                                    )     Amendment Violation (42 USC §
                                      )     1983);
17                       Plaintiffs,  ) 2. Unconstitutional Conditions of
                                      )     Confinement/Medical Care, Fourteenth
18          v.                        )     Amendment Violation (42 USC §
                                      )     1983);
19   SAN BERNARDINO COUNTY            ) 3. Failure to Protect from Harm,
     SHERIFF’s DEPARTMENT, a public )       Fourteenth Amendment Violation (42
20   entity; SAN BERNARDINO           )     USC § 1983;
     COUNTY, a public entity; SHANNON ) 4. Failure to Intervene, Fourteenth
21   DICUS, individually; JAMES       )     Amendment Violation (42 USC §
     WILLIAMS, individually; and DOES )     1983;
22   1-10, individually,              ) 5. Interference with Parent/Child
                                      )     Relationship, Fourteenth Amendment
23                       Defendants.  )     Violation (42 USC § 1983);
                                      ) 6. Supervisory Liability – (42 USC §
24                                          1983;
                                        7. Municipal Liability – (42 USC §
25                                          1983);
                                        8. Negligence;
26                                      9. Violation of Civil Code § 52.1 (Bane
                                            Act Violation);
27                                      10. Violation of Government Code § 845.6
28                                               DEMAND FOR JURY TRIAL
                                             1
                                 COMPLAINT FOR DAMAGES
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 1                                     INTRODUCTION
 2         1.     This is a civil rights action seeking monetary damages against Defendants
 3   SAN BERNARDINO COUNTY, SAN BERNARDINO COUNTY SHERIFF’s
 4   DEPARTMENT (hereinafter also “SBCSD”), SHANNON DICUS, JAMES
 5   WILLIAMS, and DOES 1-10, collectively referred to as Defendants, stemming from
 6   negligence that led to the paralyzation of ANTHONY WRIGHT.
 7         2.     On April 25, 2023, ANTHONY WRIGHT, a pretrial detainee at Glen
 8   Helen Rehabilitation Center (hereinafter “GHRC”) (shown below), was forced along
 9   with 80 others to stand outside in the scorching sun without water or shade—far beyond
10   the facility’s capacity and in clear violation of policy. Detainees begged officers to be
11   let inside, visibly suffering from the heat, but were ignored.
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22         3.     ANTHONY WRIGHT collapsed from dehydration and heat exhaustion.
23   When he regained consciousness near a toilet, fellow inmates pleaded for medical help,
24   but no staff responded. Instead, a deputy violently yanked ANTHONY WRIGHT up
25   by the wrists, slamming his head into the toilet, fracturing his neck, and causing him to
26   be permanently paralyzed from the neck down. He was eventually taken to a county
27   hospital where, after expressing hesitation about emergency surgery, he was sedated
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 1   against his will and operated on. ANTHONY WRIGHT’s life is now shattered by
 2   neglect, cruelty, and the complete abandonment of human decency.
 3         4.     The conduct of Defendants was reckless, inhumane, and in clear violation
 4   of basic rights, demonstrating deliberate indifference to the suffering of those in their
 5   care. Their actions, or willful inaction, directly resulted in unnecessary harm, suffering,
 6   and permanent injury, making them fully accountable for the consequences that
 7   followed.
 8         5.     Accordingly, this Complaint seeks judicial redress and monetary damages
 9   for such constitutional violations.
10                              JURISDICTION AND VENUE
11         6.     This action is brought pursuant to 42 U.S.C. §§ 1983 and 1988, and the
12   Fourth and Fourteenth Amendments to the United States Constitution, and the laws and
13   Constitution of the State of California. Jurisdiction is conferred upon this Court by 28
14   U.S.C. §§ 1331 and 1343.
15         7.     Venue is proper within the Central District of California pursuant to 28
16   U.S.C. § 1391(b)(2) because the events and omissions giving rise to Plaintiffs’ claims
17   occurred within this district.
18         8.     With respect to Plaintiffs’ state law claims, Plaintiffs have complied with
19   the California Tort Claims Act (“CRCA”). Therefore, “[a] dispute over when a claim
20   accrued is a question of whether the claimant has complied with the CTCA and is
21   within a federal court’s jurisdiction.” Ovando v. City of Los Angeles, 92 F. Supp. 2d
22   1011, 1022 (C.D. Cal. 2000). Plaintiffs have complied with the Tort Claims Act
23   because of the delayed discovery doctrine and equitable estoppel. Given that
24   ANTHONY WRIGHT is physically incapacitated due to his injury, both discovery
25   doctrine and equitable estoppel apply.
26                                          PARTIES
27         9.     Plaintiff ANTHONY WRIGHT is and was, at all times relevant hereto, a
28   resident of San Bernardino County.
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 1         10.    Plaintiff NICOYA WRIGHT, is and was, at all times relevant hereto, a
 2   resident of San Bernardino County.
 3         11.    Plaintiff L.W., a minor, is and was, at all times relevant hereto, a resident
 4   of Southern California.
 5         12.    Plaintiff A.G. a minor, is and was, at all times relevant hereto, a resident
 6   of Southern California.
 7         13.    Plaintiff H.W. a minor, is and was, at all times relevant hereto, a resident
 8   of Southern California.
 9         14.    Defendant     SAN     BERNARDINO           COUNTY        (hereinafter   also
10   “COUNTY”) owns, operates, manages, directs and controls Defendant SAN
11   BERNARDINO COUNTY SHERIFF’s DEPARTMENT (hereinafter also “SBCSD”),
12   also a separate public entity, which employs other DOE Defendants in this action. At
13   all times relevant to the facts alleged herein, Defendant COUNTY was responsible for
14   assuring that the actions, omissions, policies, procedures, practices and customs of its
15   employees, including SBCSD employees, complied with the laws and the Constitutions
16   of the United States and of the State of California. Defendant COUNTY, through
17   SBCSD, is and was responsible for ensuring the protection and safety of all persons
18   incarcerated at the SBCSD correctional facilities and detention centers, including
19   GHRC.
20         15.    At all relevant times, Defendant CAPTAIN JAMES WILLIAMS was an
21   employee of the COUNTY by and through GHRC. At all relevant times, Defendant
22   CAPTAIN JAMES WILLIAMS was acting under color of law. Defendant CAPTAIN
23   JAMES WILLIAMS is being sued in his individual capacity.
24         16.    At all relevant times, Defendant SHERIFF SHANNON DICUS was an
25   employee of the COUNTY by and through GHRC. At all relevant times, Defendant
26   SHERIFF SHANNON DICUS was acting under color of law. Defendant SHERIFF
27   SHANNON DICUS is being sued in his individual capacity.
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 1         17.    Plaintiffs are ignorant of the true names and capacities of Defendants DOES
 2   1-10 and therefore sue these Defendants by such fictitious names. Plaintiffs are informed
 3   and believe and thereon allege that each Defendant so named is responsible in some
 4   manner for the injuries and damages sustained by Plaintiffs as set forth herein. Plaintiffs
 5   will amend their complaint to add the names and capacities of each DOE Defendant
 6   when they have been ascertained.
 7         18.    The identities, capacities, and/or nature of involvement of the defendants
 8   sued as DOES 1-10 are presently unknown to the Plaintiffs who therefore sue these
 9   defendants by fictitious names. Plaintiffs are informed, believe, and thereupon allege
10   that DOES 1-10 include individual law enforcement personnel employed by the
11   COUNTY and that they were involved in some manner and are legally responsible for
12   the wrongful acts and conduct alleged herein. Plaintiffs will amend their complaint to
13   substitute the DOE Defendants’ true names and capacities when they have been
14   ascertained. Plaintiffs are informed, believe, and thereupon allege that each DOE
15   defendant is a resident of California. Upon information and belief, DOES 1-10 were and
16   still are residents of the State of California and the COUNTY. DOES 1-10 are sued in
17   their individual capacities.
18         19.    Each of the defendants, including DOES 1-10, caused, and is responsible
19   for, the unlawful conduct and resulting injuries suffered by Plaintiffs by, among other
20   things, personally participating in the unlawful conduct, acting jointly, or conspiring
21   with others who did so; by ordering, authorizing, acquiescing in, or setting in motion
22   policies, plans, or actions that led to the unlawful conduct, by failing to take action to
23   prevent the unlawful conduct; by failing and refusing to initiate and maintain adequate
24   training and supervision; by failing to enact policies to address the constitutional rights
25   of protesters despite the obvious need for such a policy; and by ratifying the unlawful
26   conduct that occurred by agents and officers under their direction and control, including
27   failing to take remedial or disciplinary action.
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 1         20.    Plaintiffs are informed and believe and thereon allege that each of the
 2   Defendants was at all material times an agent, servant, employee, partner, joint venturer,
 3   co-conspirator, and/or alter ego of the remaining Defendants, and in doing the things
 4   herein alleged, was acting within the course and scope of that relationship. Plaintiffs are
 5   further informed and believe and thereon allege that each of the Defendants herein gave
 6   consent, aid, and assistance to each of the remaining Defendants, and ratified and/or
 7   authorized the acts or omissions of each Defendant as alleged herein, except as may be
 8   hereinafter specifically alleged. At all material times, each Defendant was jointly
 9   engaged in tortious activity and an integral participant in the conduct described herein,
10   resulting in the deprivation of Plaintiffs’ constitutional rights and other harm.
11         21.    Plaintiffs are informed, believe, and thereupon allege that, at all time
12   relevant hereto, Defendants, and each of them, acted as the agents, servants, and
13   employees of each of the other defendants.
14         22.    In doing each of the acts and/ or omissions alleged herein, Defendants, and
15   each of them, acted within the course and scope of their employment.
16         23.    In doing each of the acts and/ or omissions alleged herein, Defendants, and
17   each of them, acted under color of authority and/ or under the color of law.
18      FACTUAL ALLEGATIONS COMMON TO ALL CAUSES OF ACTION
19         24.    On April 25, 2023, ANTHONY WRIGHT, a pretrial detainee—not yet
20   convicted of any crime—was incarcerated at the Glen Helen Rehabilitation Center
21   (GHRC) in San Bernardino County. That afternoon, he and approximately 80 other
22   detainees were forced into the scorching outdoor yard while deputies conducted a
23   facility search. Despite the blistering heat and San Bernardino’s dry, arid climate, the
24   detainees were given no access to drinking water or shade.
25         25.    They stood on baking concrete, exposed entirely to the sun. The only
26   available water source was a filthy, bird-feces-covered metal fountain that offered only
27   hot water. Detainees, visibly suffering, tried to shield themselves with towels and
28   pleaded with the deputies, begging to be let back inside. Their cries were ignored.
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 1   Deputies, including DOES 1-10, not only refused them entry but ordered them away
 2   from what little shade existed. Then, sometime after 1:00 P.M., ANTHONY WRIGHT
 3   collapsed from heat and dehydration. He lay unconscious on the ground, near a toilet,
 4   his head eventually ending up beneath the seat. When he awoke, he was disoriented but
 5   aware enough to hear fellow inmates pleading for help, urging the deputies to call
 6   medical personnel. No one came. The authorities stood by and did nothing.
 7         26.   As ANTHONY WRIGHT lay flat on his back, DOES 1-10 approached.
 8   Without a word of care or caution, this deputy straddled ANTHONY WRIGHT and
 9   violently yanked him up by the wrists, slamming his head into the metal toilet. The
10   force snapped his neck back, sending a searing pain down his spine. In that brutal
11   moment, ANTHONY WRIGHT’s life changed forever. ANTHONY WRIGHT
12   sustained fractures to multiple vertebrae in his neck and a hematoma on his forehead.
13   After that use of force, he could no longer move. He was paralyzed from the neck
14   down—a young man rendered immobile by a system that failed him at every step.
15   Eventually, emergency services arrived and took ANTHONY WRIGHT to Arrowhead
16   Regional Medical Center, operated by the very county responsible for his injuries.
17         27.   Upon evaluation, he was told he needed emergency surgery. ANTHONY
18   WRIGHT, scared and overwhelmed, asked for time to think. But that choice was taken
19   from him. Without his consent, medical staff forcibly sedated him and proceeded with
20   the surgery. Today, he lives with the consequences of that day: not just the permanent
21   paralysis, but the knowledge that his suffering was avoidable, and that his cries—like
22   so many others—were met with silence.
23                             FIRST CLAIM FOR RELIEF
24                  Excessive Force, Fourteenth Amendment Violation
25                                    (42 U.S.C. § 1983)
26        (By Plaintiff ANTHONY WRIGHT as Against Defendants DOES 1-10)
27         28.   Plaintiff realleges and incorporates herein by reference each of the
28   preceding paragraphs of this complaint, and any subsequent paragraphs.
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 1         29.    The Fourteenth Amendment applies to excessive force claims brought by
 2   pretrial detainees. Graham v. Connor, 490 U.S. 386, 395 n.10 (1989). Specifically, the
 3   Supreme Court has held that “[i]t is clear … that the Due Process Clause protects a
 4   pretrial detainee from the use of excessive force that amounts to punishment.” Id. In
 5   Kingsley v. Hendrickson, 576 U.S. 389, 395 (2015), the Supreme Court held that to
 6   prove an excessive force claim under the Fourteenth Amendment, a pretrial detainee
 7   must show that the officers’ use of force was “objectively” unreasonable; the detainee
 8   is not required to show that the officers were “subjectively” aware that their use of
 9   force was unreasonable.
10         30.    Plaintiff alleges that DOES 1-10, inclusive, used excessive force against
11   ANTHONY WRIGHT which deprived ANTHONY WRIGHT of his right to be secure
12   in his person against unreasonable searches and seizures as guaranteed to ANTHONY
13   WRIGHT under the Fourteenth Amendment to the United States Constitution and
14   applied to State actors by the Fourteenth Amendment.
15         31.    The Fourteenth Amendment requires force to be objectively reasonable.
16   However, the force used on ANTHONY WRIGHT was fundamentally unreasonable
17   and in violation of ANTHONY WRIGHT’s Fourteenth Amendment right to be secure
18   in his person against an unreasonable searches and seizures.
19         32.    Indeed, on April 25, 2023, some time after 12:00 P.M., DOES 1-10,
20   inclusive, acting in their individual and/or representative capacities, in the course and
21   scope of their employment with GHRC, acting under color of law, used unreasonable
22   and excessive force and violated the constitutional rights of ANTHONY WRIGHT
23   when they grabbed ANTHONY WRIGHT by both wrists and aggressively jerked him
24   forward, causing him to hit his forehead on a metal toilet. The force snapped his neck
25   back, sending a searing pain down his spine, fracturing multiple verterbrae. DOES 1-
26   10, inclusive, unnecessarily apprehended ANTHONY WRIGHT by force which
27   resulted in ANTHONY WRIGHT’s injuries and ultimate paralyzation.
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 1         33.    When DOES 1-10, inclusive, used force on ANTHONY WRIGHT,
 2   ANTHONY WRIGHT did not present a threat to the deputies.
 3         34.        Inn fact, ANTHONY WRIGHT was unconscious and lying on the floor
 4   after having fainted from the heat.
 5         35.    Therefore, the force used by Defendants DOES 1-10, inclusive, was
 6   objectively unreasonable and therefore in violation of the Fourteenth Amendment.
 7         36.    DOES 1-10, inclusive, caused serious injuries to ANTHONY WRIGHT,
 8   that led to his permanent paralyzartion. By virtue of their misconduct, DOES 1-10,
 9   inclusive, are liable for ANTHONY WRIGHT’s tragic death, either because these
10   Defendants were integral participants in the use of excessive force, or because they
11   failed to intervene to prevent these violations. Accordingly, DOES 1-10, inclusive, are
12   liable for all damages recoverable under 42 U.S.C. Section 1983.
13         37.    Plaintiff ANTHONY WRIGHT by this action, further claims all of
14   Plaintiff’s attorneys’ fees and costs incurred and to be incurred in Plaintiff’s presenting,
15   maintaining and prosecuting this action under 42 U.S.C. Section 1988.
16         38.    The conduct of DOES 1-10, inclusive, was willful, wanton, malicious, and
17   done with reckless disregard for the rights and safety of ANTHONY WRIGHT and
18   therefore warrants the imposition of exemplary and punitive damages as to DOES 1-
19   10, inclusive.
20                              SECOND CLAIM FOR RELIEF
21        Unconstitutional Conditions of Confinement/Medical Care, Fourteenth
22                                    Amendment Violation
23                                      (42 U.S.C. § 1983)
24               (By Plaintiff ANTHONY WRIGHT’s Against DOES 1-10)
25         39.    Plaintiff realleges and incorporates herein by reference each of the
26   preceding paragraphs of this complaint, and any subsequent paragraphs.
27         40.    “In light of the Supreme Court's rulings that conditions of confinement
28   violate pretrial detainees' Fourteenth Amendment rights if the conditions amount to
                                                  9
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 1   punishment, and that failure to prevent harm amounts to punishment where detention
 2   officials are deliberately indifferent, we have concluded that the ‘deliberate
 3   indifference’ standard applies to claims that correction facility officials failed to
 4   address the medical needs of pretrial detainees.” Clouthier v. County of Contra Costa,
 5   591 F.3d 1232, 1242 (9th Cir. 2010), overruled on other grounds by Castro v. County
 6   of Los Angeles, 833 F.3d 1060 (9th Cir. 2016).
 7         41.      At all relevant times, Plaintiff ANTHONY WRIGHT was a pretrial
 8   detainee entitled to protection under the Fourteenth Amendment to the United States
 9   Constitution. Defendants DOES 1-10 were acting under color of state law and in the
10   scope of their employment with the SBCSD when the constitutional violations
11   described herein occurred.
12         42.      On April 25, 2023, Defendants made an intentional decision to deprive
13   ANTHONY WRIGHT of safe conditions of confinement, in the following ways:
14         A. Placed ANTHONY WRIGHT outside in the scorching sun without water or
15               shade—far beyond the facility’s capacity and in clear violation of policy;
16         B. Placed ANTHONY WRIGHT in a condition after he was injured which
17               exacerbated his injury;
18         C. Placed ANTHONY WRIGHT in a condition where Defendants failed to
19               adequately monitor ANTHONY WRIGHT’s medical condition despite
20               visible signs of medical distress;
21         D. Placed ANTHONY WRIGHT in a condition where Defendants failed to
22               summon or provide prompt medical care after ANTHONY WRIGHT
23               collapsed;
24         E. Placed ANTHONY WRIGHT in a condition where Defendants failed to
25               adequately provide ANTHONY WRIGHT with proper care after he suffered
26               a heat stroke and instead using excessive force and causing further injury,
27               resulting in an eventual paralysis.
28   ///
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 1         43.    As a result of Defendants’ conduct, Plaintiff ANTHONY WRIGHT was
 2   placed at substantial risk of serious harm, including heat stroke, traumatic brain injury,
 3   spinal cord injury, and permanent disability.
 4         44.    Defendants failed to take reasonable available measures to abate or reduce
 5   this risk of harm, despite the fact that a reasonable officer in the same situation would
 6   have recognized the obvious and substantial danger posed to ANTHONY WRIGHT’s
 7   health.
 8         45.    Under the objective deliberate indifference standard established in
 9   Alexander v. Nguyen, 78 F.4th 1140, 1144 (9th Cir. 2023), a pretrial detainee asserting
10   a Fourteenth Amendment claim must show more than negligence, but less than
11   subjective intent—something akin to reckless disregard. Here, Defendants’ failure to
12   act rises well above mere negligence and demonstrates a reckless disregard for
13   ANTHONY WRIGHT’s constitutional rights.
14         46.    Upon information and belief, on April 25, 2023, after it was clear that
15   ANTHONY WRIGHT needed medical care, DOES 1-10, inclusive, failed to summon
16   or provide immediate medical assistance. Despite clear indications that ANTHONY
17   WRIGHT was suffering from a medical emergency—namely, signs consistent with
18   heat stroke—Defendants failed to act. Upon information and belief, numerous other
19   detainees at the scene were reportedly screaming for help on ANTHONY WRIGHT’s
20   behalf, further alerting Defendants to the severity of ANTHONY WRIGHT’s
21   condition. Nevertheless, Defendants ignored or disregarded these pleas and failed to
22   intervene in a timely manner, thereby exacerbating ANTHONY WRIGHT’s injuries
23   and violating his constitutional rights under the Fourteenth Amendment.
24         47.    As a direct and proximate result of Defendants’ acts and omissions,
25   Plaintiff ANTHONY WRIGHT suffered extreme and permanent injuries, including
26   paralysis, pain and suffering, emotional distress, and loss of enjoyment of life.
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 1         48.    Plaintiff ANTHONY WRIGHT by this action, further claims all of
 2   Plaintiff’s attorneys’ fees and costs incurred and to be incurred in Plaintiff presenting,
 3   maintaining and prosecuting this action under 42 U.S.C. Section 1988.
 4                              THIRD CLAIM FOR RELIEF
 5                               Failure to Protect from Harm,
 6       Violation of the Fourteenth Amendment to the United States Constitution
 7                                     ( 42 U.S.C. § 1983)
 8               (By Plaintiff ANTHONY WRIGHT As Against DOES 1-10)
 9         49.    Plaintiff realleges and incorporates herein by reference each of the
10   preceding paragraphs of this complaint, and any subsequent paragraphs.
11         50.    Pretrial detainees such as ANTHONY WRIGHT have a Fourteenth
12   Amendment due process right to be free from harm. See Castro v. County of Los
13   Angeles, 833 F.3d 1060 (9th Cir. 2016) (en banc); see also Gordon v. County of
14   Orange, 888 F.3d 1118, 1124–25 (9th Cir. 2018).
15         51.    Upon information and belief, Defendants DOES 1-10, intentionally
16   placed ANTHONY WRIGHT in a condition where he would be unreasonably exposed
17   to the risk of harm which could result of in death or serious bodily injury. Particularly,
18   Defendants DOES 1-10 placed ANTHONY WRIGHT outside in the heat and also did
19   not properly stabilize him after he was subjected to excessive force. Defendants DOES
20   1-10 could have mitigated the risks of harm by not moving ANTHONY WRIGHT
21   given that he suffered a catastrophic spinal injury. However, Defendants DOES 1-10
22   were objectively deliberately indifferent and failed to protect ANTHONY WRIGHT
23   from harm.
24         52.    Furthermore, upon information and belief, Defendants DOES 1-10
25   intentionally chose to disregard this known risk by failing to implement appropriate
26   safeguards, failing to intervene when ANTHONY WRIGHT was in clear medical
27   distress, and by engaging in unnecessary and excessive force, all of which directly
28   contributed to ANTHONY WRIGHT’s injuries. Each Defendant could have taken
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 1   action to prevent unnecessary harm to ANTHONY WRIGHT but refused or failed to
 2   do so.
 3            53.   Defendants DOES 1-10 were on notice that their conduct as well as their
 4   deficient policies, procedures, and practices alleged herein created a substantial risk of
 5   serious harm to an inmate in ANTHONY WRIGHT’s position. By policy, procedure,
 6   and practice Defendants DOES 1-10 deliberately disregarded the hazards and risks
 7   posed to persons incarcerated/detained at the SAN BERNARDINO COUNTY’s
 8   GHRC, as alleged above. Defendants failed to take any reasonable steps to mitigate the
 9   obvious and well-known risks of harm that their actions and omissions posed to
10   ANTHONY WRIGHT, including dangers of exposing incarcerated or detained
11   individuals to extreme heat, failing to timely request or provide medical intervention,
12   and physically mishandling an individual in medical distress in a manner that
13   foreseeably resulted in severe injury.
14            54.   Defendants     DOES       1-10’s    failure    to    properly     monitor
15   incarcerated/detained persons, provide adequate medical care, monitor ANTHONY
16   WRIGHT’s condition, and handle him with appropriate caution when he was clearly
17   incapacitated demonstrates deliberate indifference to his serious medical needs. Their
18   conduct was not only unreasonable under the circumstances but also violated clearly
19   established constitutional protections guaranteed to incarcerated individuals under the
20   Fourteenth Amendment.
21            55.   Upon information and belief, Defendants SHERIFF SHANNON DICUS
22   and DOES 6-10 ratified Defendants DOES 1-5’s failure to provide adequate care,
23   intervene to prevent harm, and adhere to constitutional and departmental standards by
24   approving, condoning, or deliberately ignoring their conduct after the fact, thereby
25   fostering a culture of impunity and deliberate indifference within the department.
26            56.   As a direct and proximate result of Defendants’ conduct, the civil rights
27   of ANTHONY WRIGHT, as protected by the Fourteenth Amendment of the United
28   States Constitution were violated. Further, ANTHONY WRIGHT experienced
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 1   physical pain, severe emotional distress, and mental anguish, as well as loss of his life
 2   and other damages alleged herein.
 3           57.    Defendants subjected ANTHONY WRIGHT to their wrongful conduct,
 4   depriving ANTHONY WRIGHT of rights described herein, knowingly, maliciously,
 5   and with conscious and reckless disregard for whether the rights and safety of
 6   ANTHONY WRIGHT and others would be violated by their acts and/or omissions.
 7           58.    As a direct and proximate result of Defendants’ acts and/or omissions as
 8   set forth above, ANTHONY WRIGHT, through Plaintiffs herein, sustained injuries
 9   and damages.
10           59.    The conduct of Defendants entitles Plaintiff to punitive damages and
11   penalties allowable under 42 U.S.C. § 1983 and as provided by law. Plaintiff do not
12   seek punitive damages against Defendants COUNTY.
13           60.    Plaintiff is also entitled to reasonable costs and attorneys’ fees under 42
14   U.S.C. § 1988, and other applicable United States and California codes and laws.
15                              FOURTH CLAIM FOR RELIEF
16                                     Failure to Intervene,
17         Violation of the Fourteenth Amendment to the United States Constitution
18                                      ( 42 U.S.C. § 1983)
19                 (By Plaintiff ANTHONY WRIGHT As Against DOES 1-10)
20           61.    Plaintiff realleges and incorporates herein by reference each of the
21   preceding paragraphs of this complaint, and any subsequent paragraphs.
22           62.    At all relevant times, Defendants DOES 1-10 were acting under color of
23   state law and within the course and scope of their employment as law enforcement
24   officers, correctional staff, or agents of the COUNTY.
25           63.    Plaintiff ANTHONY WRIGHT was a pretrial detainee at the time of the
26   events alleged and therefore was entitled to protection under the Fourteenth
27   Amendment to the United States Constitution.
28   ///
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 1         64.    Defendants DOES 1-10 observed or were otherwise aware that
 2   ANTHONY WRIGHT was being subjected to excessive force, unconstitutional
 3   conditions of confinement and/or denied adequate medical care, including being left in
 4   excessive heat and not receiving timely medical intervention despite clear signs of
 5   medical distress.
 6         65.    Defendants DOES 1-10 had both the opportunity and the duty to intervene
 7   to prevent the constitutional violations being committed by their fellow officers, but
 8   they failed to do so.
 9         66.    A reasonable officer in the same or similar circumstances would have
10   known that failing to act in the face of obvious and serious medical needs, including
11   the effects of heat stroke and prolonged medical inattention, would violate ANTHONY
12   WRIGHT’s clearly established constitutional rights.
13         67.    The failure of Defendants DOES 1-10 to intervene and prevent the
14   violation of Plaintiff’s constitutional rights directly and proximately caused
15   ANTHONY WRIGHT’s serious injuries, including but not limited to paralysis and
16   other permanent medical impairments.
17         68.    As a result of Defendants’ actions and omissions, Plaintiff ANTHONY
18   WRIGHT has suffered, and continues to suffer, substantial damages, including
19   physical pain, emotional distress, loss of bodily function, and the costs of medical care
20   and treatment.
21         69.    Defendants’ failure to intervene constitutes a violation of Plaintiff’s rights
22   under the Fourteenth Amendment and entitles Plaintiff to compensatory and punitive
23   damages pursuant to 42 U.S.C. § 1983.
24                              FIFTH CLAIM FOR RELIEF
25   Interference with Parent/Child Relationship, Fourteenth Amendment Violation
26                                     (42 U.S.C. § 1983)
27   (By Plaintiffs NICOYA WRIGHT, L.W., a minor, A.G., a minor, H.W., a minor,
28                            As Against Defendants DOES 1-10)
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 1          70.   Plaintiffs reallege and incorporate herein by reference each of the
 2   preceding paragraphs of this complaint, and any subsequent paragraphs.
 3          71.   The aforementioned acts and/or omissions of Defendants DOES 1-10,
 4   inclusive, including placing ANTHONY WRIGHT in clear harm’s way, deprived
 5   Plaintiff NICOYA WRIGHT of a relationship with her husband, ANTHONY
 6   WRIGHT and deprived L.W., A.G. and H.W. of a relationship with their father,
 7   ANTHONY WRIGHT.
 8          72.   Parents and children possess a constitutionally protected liberty interest in
 9   companionship and society with each other. Smith v. City of Fontana, 818 F.2d 1411,
10   1418 (9th Cir. 1987), overruled on other grounds by Hodgers-Durgin v. de la Vina, 199
11   F.3d 1037 (9th Cir. 1999) (en banc). This liberty interest is rooted in the Fourteenth
12   Amendment, which states in relevant part that “[n]o State shall . . . deprive any person
13   of life, liberty, or property, without due process of law.” U.S. Const. amend. XIV, § 1.
14          73.   At all relevant times, Defendants DOES 1-10 were acting under color of
15   law.
16          74.   The acts and omissions of Defendants DOES 1-10 were conduct which
17   shocks the conscience done with a purpose to harm or in deliberate indifference to
18   ANTHONY WRIGHT’s life, protection, and constitutional rights.
19          75.   The acts and/or omissions of Defendants DOES 1-10, including their
20   unconstitutional use of excessive force and unconstitutional conditions of confinement,
21   violated Plaintiffs’ NICOYA WRIGHT’s, L.W., A.G., and H.W.’s liberty interests in
22   the familial relationship and violated Plaintiffs’ NICOYA WRIGHT’s, L.W., A.G., and
23   H.W.’s substantive due process rights as defined by the Fourteenth Amendment of the
24   Constitution.
25          76.   Indeed, the acts and omissions of Defendants DOES 1-10, deprived
26   Plaintiffs NICOYA WRIGHT, L.W., A.G., and H.W. of rights, privileges, and
27   immunities secured by the Constitution and laws of the United States, including but
28   not limited to the Fourteenth Amendment by, among other things, depriving Plaintiffs
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 1   NICOYA WRIGHT, L.W., A.G., and H.W. of their rights to a familial relationship
 2   with ANTHONY WRIGHT without due process of law by their deliberate indifference
 3   in causing substantial harm to ANTHONY WRIGHT through Defendants’ acts and
 4   omissions.
 5         77.    In engaging in conduct that shocks the conscience, Defendants DOES 1-
 6   10, acted with a purpose to harm, unrelated to any legitimate law enforcement objective
 7   when they left ANTHONY WRIGHT outside in extreme heat without access to
 8   drinkable water, without supervision or care, failed to promptly respond to his medical
 9   emergency, and violently jerked him in a manner that caused him to strike his head on
10   a metal toilet, resulting in catastrophic injuries.
11         78.    Accordingly, the conduct of Defendants DOES 1-10 shocks the
12   conscience and has unconstitutionally interfered with the familial association between
13   Plaintiffs and ANTHONY WRIGHT in violation of the Fourteenth Amendment. As a
14   result of Defendants conduct, NICOYA WRIGHT, L.W., A.G., and H.W.have been
15   deprives of the familial association, companionship of ANTHONY WRIGHT.
16         79.    As a direct and proximate result of Defendants DOES 1-10’s acts and/or
17   omissions as set forth above, Plaintiffs sustained injuries and damages and are entitled
18   to damages under the Fourteenth Amendment pursuant to 42 U.S.C. § 1983.
19         80.    Furthermore, Defendants DOES 1-10 subjected ANTHONY WRIGHT to
20   his wrongful conduct, depriving him of rights described herein, knowingly,
21   maliciously, and with conscious and reckless disregard for whether the rights and safety
22   of ANTHONY WRIGHT and others would be violated by their acts and/or omissions.
23   The conduct of Defendants DOES 1-10 entitles Plaintiffs to punitive damages and
24   penalties allowable under 42 U.S.C. § 1983 and as provided by law. Plaintiffs do not
25   seek punitive damages against the public entity Defendants.
26         81.    Plaintiffs are also entitled to reasonable costs and attorneys’ fees under 42
27   U.S.C. § 1988, and other applicable United States laws.
28   ///
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 1                              SIXTH CLAIM FOR RELIEF
 2                                   Supervisory Liability
 3                                     (42 U.S.C. § 1983)
 4   (By Plaintiff ANTHONY WRIGHT As Against Defendants SHANNON DICUS,
 5                         JAMES WILLIAMS, and DOES 6-10)
 6         82.    Plaintiff realleges and incorporates herein by reference each of the
 7   preceding paragraphs of this complaint, and any subsequent paragraphs.
 8         83.    At all material times, JAMES WILLIAMS, SHERIFF DICUS, and DOES
 9   6-10 had the duty and responsibility to constitutionally hire, train, instruct, monitor,
10   supervise, evaluate, investigate, staff, and discipline the other Defendants employed by
11   their respective agencies in this matter, as well as all employees and agents of the
12   COUNTY and SBSD.
13         84.    Defendants JAMES WILLIAMS, SHERIFF DICUS, and DOES 6-10
14   failed to properly hire, train, instruct, monitor, supervise, evaluate, investigate, and
15   discipline the respective employees of their agencies, including Defendants DOES 1-
16   5, and other COUNTY and SBSD personnel, with deliberate indifference to Plaintiffs’
17   and others’ constitutional rights, which were thereby violated as described above.
18         85.    As supervisors, Defendants JAMES WILLIAMS, SHERIFF DICUS, and
19   DOES 6-10 each permitted and failed to prevent the unconstitutional acts of other
20   Defendants and individuals under their supervision and control, and failed to properly
21   supervise such individuals, with deliberate indifference to the rights to safety and
22   protections while incarcerated at SAN BERNARDINO COUNTY GHRC and the
23   rights to the serious medical needs of ANTHONY WRIGHT.
24         86.    Supervising Defendants either directed his or her subordinates in conduct
25   that violated ANTHONY WRIGHT’s rights, or set in motion a series of acts and
26   omissions by his or her subordinates that the supervisor knew or reasonably should
27   have known would deprive ANTHONY WRIGHT of rights, or knew his or her
28   subordinates were engaging in acts likely to deprive ANTHONY WRIGHT of rights
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 1   and failed to act to prevent his or her subordinate from engaging in such conduct, or
 2   disregarded the consequence of a known or obvious training deficiency that he or she
 3   must have known would cause subordinates to violate ANTHONY WRIGHT’s rights,
 4   and in fact did cause the violation of ANTHONY WRIGHT’s rights. (See, Ninth
 5   Circuit Model Civil Jury Instruction 9.4). Furthermore, each of these supervising
 6   Defendants is liable in their failures to intervene in their subordinates’ apparent
 7   violations of ANTHONY WRIGHT’ rights.
 8         87.    The unconstitutional customs, policies, practices, and/or procedures of
 9   Defendants COUNTY and SBSD, as stated herein, were directed, encouraged, allowed,
10   and/or ratified by policymaking officers for Defendants COUNTY and SBSD,
11   including Defendant JAMES WILLIAMS, SHANNON DICUS and DOES 6-10,
12   respectively, with deliberate indifference to Plaintiff ANTHONY WRIGHT’s, and
13   others’ constitutional rights, which were thereby violated as described above.
14         88.    The unconstitutional actions and/or omissions of Defendants DOES 1-10,
15   and other COUNTY and SBSD personnel, as described above, were approved,
16   tolerated, and/or ratified by policymaking officers for the COUNTY and SBSD,
17   including Defendants JAMES WILLIAMS, SHANNON DICUS and DOES 6-10.
18         89.    Plaintiff is informed and believes and thereon alleges that the details of
19   this incident have been revealed to Defendants JAMES WILLIAMS, SHANNON
20   DICUS and DOES 6-10 and that such Defendant-policymakers have direct knowledge
21   of the fact that the injuries of ANTHONY WRIGHT were not justified or necessary,
22   but represented deliberate indifference to his rights to be protected and safe while in
23   the COUNTY’s custody and his rights to his serious medical and mental health needs,
24   as set forth above.
25         90.    Notwithstanding this knowledge, on information and belief, Defendants
26   JAMES WILLIAMS, SHANNON DICUS and DOES 6-10 have approved and ratified
27   the conduct and decisions of Defendants DOES 1-5 in this matter, and have made a
28   deliberate choice to endorse such conduct and decisions, and the basis for them, that
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 1   resulted in permanent catastrophic injuries to ANTHONY WRIGHT. By so doing,
 2   Defendants JAMES WILLIAMS, SHANNON DICUS and DOES 6-10 have shown
 3   affirmative agreement with the individual Defendants’ actions and have ratified the
 4   unconstitutional acts of the individual Defendants.
 5         91.    Furthermore, Plaintiffs are informed and believe, and thereupon allege,
 6   that Defendants JAMES WILLIAMS, SHANNON DICUS and DOES 6-10 other
 7   policymaking officers for the COUNTY and SBSD were and are aware of a pattern of
 8   misconduct and injury, and a code of silence, caused by COUNTY and SBSD custody,
 9   medical and mental health staff personnel similar to the conduct of Defendants
10   described herein, but failed to discipline culpable law enforcement officers and
11   employees and failed to institute new procedures and policy within the COUNTY and
12   SBSD.
13         92.    The aforementioned customs, policies, practices, and procedures; the
14   failures to properly and adequately hire, train, instruct, monitor, supervise, evaluate,
15   investigate, and discipline; and the unconstitutional orders, approvals, ratification, and
16   toleration of wrongful conduct of Defendants SHANNON DICUS, JAMES
17   WILLIAMS, and DOES 6-10 were a moving force and/or a proximate cause of the
18   deprivations of ANTHONY WRIGHT’s clearly established and well-settled
19   constitutional rights in violation of 42 U.S.C. § 1983, as more fully set forth above.
20         93.    Defendants subjected ANTHONY WRIGHT to their wrongful conduct,
21   depriving ANTHONY WRIGHT of rights described herein, knowingly, maliciously,
22   and with conscious and reckless disregard for whether the rights and ANTHONY
23   WRIGHT and others would be violated by their acts and/or omissions.
24         94.    As a direct and proximate result of the unconstitutional actions, omissions,
25   customs, policies, practices, and procedures of Defendants SHANNON DICUS,
26   JAMES WILLIAMS, and DOES 6-10 as described above, Plaintiff sustained serious
27   and permanent injuries and is entitled to damages, penalties, costs, and attorneys’ fees.
28   ///
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 1                                SEVENTH CLAIM FOR RELIEF
 2                                    Municipal Liability - Monell
 3                                          (42 U.S.C. § 1983)
 4            (By Plaintiff ANTHONY WRIGHT Against Defendant COUNTY)
 5          95.     Plaintiff realleges and incorporates herein by reference each of the
 6   preceding paragraphs of this complaint, and any subsequent paragraphs.
 7          96.     In Monell v. Department of Social Servs., 436 U.S. 658, 98 S.Ct. 2018, 56
 8   L.Ed.2d 611 (1978), the Supreme Court held that municipalities were “persons” under
 9   § 1983 and thus could be held liable for causing a constitutional deprivation. Id. at 690,
10   98 S.Ct. 2018. The Court explained that while a municipality may not be held liable

11   under § 1983 for the torts of its employees on a theory of respondeat superior, liability
     may attach where the municipality itself causes the constitutional violation through the
12
     execution of an official policy, practice or custom. Id. at 690–691, 98 S.Ct. 2018.1
13
            97.     As set forth in the forgoing claims for relief, Defendants DOES 1-10
14
     committed clear and well-established violations of constitutional rights against
15
     ANTHONY WRIGHT within the course and scope of their employment as COUNTY
16
     employees, under color of law.
17
            98.     On and for some time prior to April 25, 2023, (and continuing to the
18
     present date), Defendants COUNTY, SBCSD, and DOES 1-10, acting with deliberate
19
     indifference to the rights and liberties of the public in general, and of ANTHONY
20
     WRIGHT, and of persons in his class situation and comparable position in particular,
21
     knowingly maintained, enforced and applied officially recognized customs, policies,
22
     and practices in violation of person’s constitutional rights.
23
            99.     The unconstitutional actions and/or omissions of Defendants DOES 1-10,
24
     as well as other employees or officers employed by or acting on behalf of the
25
     Defendants COUNTY and SBCSD, on information and belief, were pursuant to the
26

27   1 See Fairley v. Luman, 281 F.3d 913, 917 (9th Cir. 2002) (“These alleged constitutional deprivations

     were not suffered as a result of actions of the individual officers, but as a result of the collective
28   inaction of the Long Beach Police Department.”).
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 1   following customs, policies, practices, and/or procedures of Defendants COUNTY and
 2   SBCSD, stated in the alternative, which were directed, encouraged, allowed, and/or
 3   ratified by policymaking officers for Defendant COUNTY and SBCSD:
 4            a. The custom and practice of deputies to using excessive force on inmates;
 5            b. The custom and practice of deputies not stabilizing inmates after suffering
 6               a serious injury;
 7            c. The custom and practice of deputies of not properly medically treating
 8               inmates who suffer serious injuries;
 9            d. The custom and practice of deputies of allowing and encouraging
10               inadequate and incompetent medical care for jail inmates and arrestees;
11            e. The custom and practice of deputies of hiring, retaining and contracting
12               for obviously inadequate medical care for jail inmates and arrestees,
13               including creating financial incentives for custodial and medical
14               personnel not to send inmates with emergency medical needs to a hospital;
15            f. The custom and practice of deputies of denying pretrial detainees their
16               constitutional rights, by subjecting them to dangerous and inhumane
17               conditions, such as locking detainees out in extreme heat during dormitory
18               searches;
19            g. The custom and practice of deputies of allowing, encouraging, and
20               requiring   unlicensed,   incompetent,     inadequately    trained   and/or
21               inadequately supervised staff to assess inmates’ medical condition, needs,
22               and treatment, including to decide whether or not to provide inmates with
23               necessary emergency care and hospitalization;
24            h. The custom and practice of deputies of allowing and failing to rectify a
25               pattern of conduct in which deputies routinely failed to recognize and
26               appropriately respond to serious medical emergencies, thereby denying
27               detainees the medical care they were constitutionally entitled to, including
28

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 1              failing to address medical distress promptly, often responding with force
 2              rather than medical intervention;
 3           i. The custom and practice of deputies of establishing, maintaining, and
 4              enforcing policies, practices, and customs that exhibited deliberate
 5              indifference to the safety and well-being of detainees, as evidenced by the
 6              continued use of unsafe practices and failure to train officers in responding
 7              to medical emergencies or to avoid unnecessary and excessive force;
 8           j. The custom and practice of deputies of ignoring or inadequately
 9              responding to clear signs of medical distress or emergencies, leading to a
10              foreseeable risk of injury and death among detainees, despite knowledge
11              of previous incidents involving detainee fatalities caused by similar
12              conditions;
13           k. The custom and practice of deputies of perpetuating a culture of
14              inadequate training and supervision of deputies, resulting in numerous
15              constitutional violations and exposing detainees to unnecessary harm,
16              including the failure to take appropriate action when detainees displayed
17              signs of overheating, medical distress, or injury.
18           l. The custom and practice of deputies of covering up violations of
19              constitutional rights by any or all of the following:
20           m. By failing to properly investigate and/or evaluate incidents of violations
21              of rights, including by unconstitutional medical care at the jail;
22           n. By ignoring and/or failing to properly and adequately investigate and/or
23              investigate and discipline unconstitutional or unlawful conduct by
24              custodial and medical personnel;
25           o. The custom and practice of deputies of allowing, tolerating, and/or
26              encouraging a “code of silence” among law enforcement officers, SBCSD
27              personnel, custodial personnel and medical personnel at the jail whereby
28              an officer or member of the SBCSD or medical staff does not provide
                                              23
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 1                 adverse information against a fellow officer, or member of the SBCSD or
 2                 the medical staff;
 3             p. The custom and practice of deputies of failing to have and enforce
 4                 necessary, appropriate, and lawful policies, procedures, and training
 5                 programs to prevent or correct the unconstitutional conduct, customs, and
 6                 procedures described in subparagraphs (a) through (j) above, with
 7                 deliberate indifference to the rights and safety of pretrial detainees, such
 8                 as ANTHONY WRIGHT, and in the face of an obvious need for such
 9                 policies, procedures, and training programs.
10         100. The unconstitutional actions and/or omissions of Defendants DOES 1-10,
11   as well as other employees or officers employed by or acting on behalf of the
12   Defendants COUNTY and SBCSD, on information and belief, were pursuant to the
13   following customs, policies, practices, and/or procedures of Defendants COUNTY and
14   SBCSD, stated in the alternative, which were directed, encouraged, allowed, and/or
15   ratified by policymaking officers for Defendant COUNTY and SBCSD.
16         101. Defendant supervisors had knowledge of inadequacy of Supervision and
17   deliberate indifference towards inmates’ rights to be protected from harm at the GHRC
18   and failed to take corrective action.
19         102. Prior to ANTHONY WRIGHT’s serious injuries, high-level COUNTY
20   supervisors, knew or should have known of a history of years of notice of ongoing
21   violence the GHRC and the ongoing failure to routinely check in on inmates, knew or
22   should have known of inadequate and/or incompetent staffing, insufficient and
23   inadequate.
24         103. The unconstitutional actions and/or omissions of Defendants DOES 1-10
25   COUNTY and SBCSD employees, as described above, were approved, tolerated,
26   and/or ratified by policymaking officers for the SBCSD and COUNTY, including
27   DOES 6-10. Plaintiff is informed and believes and thereon alleges that the details of
28   this incident have been revealed to the authorized policymakers within the COUNTY
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 1   and SBCSD, and that such policymakers have direct knowledge of the fact that the
 2   serious injures of ANTHONY WRIGHT were the result of deliberate indifference to
 3   his rights to be protected and safe while in the custody of the COUNTY and SBCSD,
 4   and his rights to have access to medical care when suffering a medical emergency.
 5   Notwithstanding this knowledge, the authorized policymakers within the COUNTY
 6   and SBCSD have approved of the conduct and decisions of Defendants DOES 1-5 in
 7   this matter, and have made a deliberate choice to endorse such conduct and decisions,
 8   and the basis for them, that resulted in the serious bodily injuries of ANTHONY
 9   WRIGHT.
10         104. By so doing, the authorized policymakers within the COUNTY and
11   SBCSD have shown affirmative agreement with the individual Defendants’ actions and
12   have ratified the unconstitutional acts of the individual Defendants. Furthermore,
13   Plaintiff is informed and believes, and thereupon alleges, that Defendants COUNTY
14   and SBCSD were and are aware of a pattern of misconduct and injury caused by
15   COUNTY Jails custody and medical staff similar to the conduct of Defendants
16   described herein but failed to discipline culpable custody and medical staff and failed
17   to institute new procedures and policy within the COUNTY and SBCSD.
18         105. The aforementioned customs, policies, practices, and procedures; the
19   failures to properly and adequately hire, train, instruct, monitor, supervise, evaluate,
20   investigate, and discipline; and the unconstitutional orders, approvals, ratification, and
21   toleration of wrongful conduct of Defendants COUNTY and SBCSD were a moving
22   force and/or a proximate cause of the deprivations of ANTHONY WRIGHT’s clearly
23   established and well-settled constitutional rights in violation of 42 U.S.C. § 1983.
24         106. In terms of frequency, duration and consistency, the following in-custody
25   injuries which occurred within SBSD jails demonstrate a custom and practice within
26   SBSD and COUNTY:
27             A. IN-CUSTODY INJURY AND ULTIMATE DEATH OF COREY
28                BENNETT: On December 2, 2023, Corey Bennet had a medical
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 1             emergency stemming from a methamphetamine overdose while a detainee
 2             at the High Desert Detention Center. The medical emergency of Corey
 3             Bennet was unconstitutional insofar that it was caused by San Bernardino
 4             County Sheriff’s Department and County’s deliberate indifference to his
 5             right to medical care and to be free from harm. This incident similar to the
 6             incident with ANTHONY WRIGHT because they occurred in similar
 7             circumstances whereby ANTHONY WRIGHT and the prior instance
 8             show a custom and practice of inmates not being protected from harm that
 9             was frequent, consistent and in place for significant duration.
10           B. IN-CUSTODY INJURY AND ULTIMATE DEATH OF RICKEY
11             WHIPPLE: On October 6, 2023, Rickey Whipple had a medical
12             emergency stemming from Fentanyl toxicity. Rickey Whipple was a
13             detainee at the West Valley Detention Center when he was found
14             unresponsive. The medical emergency of Rickey Whipple was
15             unconstitutional insofar that it was caused by San Bernardino County
16             Sheriff’s Department and County’s deliberate indifference to his right to
17             medical care and to be free from harm. This incident similar to the incident
18             with ANTHONY WRIGHT because they occurred in similar
19             circumstances whereby ANTHONY WRIGHT and the prior instance
20             show a custom and practice of inmates not being protected from harm that
21             was frequent, consistent and in place for significant duration.
22           C. IN-CUSTODY INJURY AND ULTIMATE DEATH OF STEPHEN
23             HERNANDEZ: On October 24, 2022, Stephen Hernandez was found
24             unresponsive in his cell while a detainee at the West Valley Detention
25             Center. Stephen Hernandez had a medical emergency stemming from
26             acute Fentanyl toxicity. The medical emergency of Stephen Hernandez
27             was unconstitutional insofar that it was caused by San Bernardino County
28             Sheriff’s Department and County’s deliberate indifference to his right to
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 1             medical care and to be free from harm. This incident similar to the incident
 2             with ANTHONY WRIGHT because they occurred in similar
 3             circumstances whereby ANTHONY WRIGHT and the prior instance
 4             show a custom and practice of inmates not being protected from harm that
 5             was frequent, consistent and in place for significant duration.
 6           D. IN-CUSTODY        INJURY          AND    ULTIMATE         DEATH        OF
 7             GUADALUPE GONZALEZ: On July 9, 2022, Guadalupe Gonzalez’s
 8             had a medical emergency stemming from acute ethanol intoxication while
 9             detained at the West Valley Detention Center. Mr. Gonzalez had a history
10             of medical problems. The medical emergency of Guadalupe Gonzalez was
11             unconstitutional insofar that it was caused by San Bernardino County
12             Sheriff’s Department and County’s deliberate indifference to his right to
13             medical care and to be free from harm. This incident similar to the incident
14             with ANTHONY WRIGHT because they occurred in similar
15             circumstances whereby ANTHONY WRIGHT and the prior instance
16             show a custom and practice of inmates not being protected from harm that
17             was frequent, consistent and in place for significant duration.
18           E. IN-CUSTODY INJURY AND ULTIMATE DEATH OF MARCUS
19             HAWES: On April 29, 2022, Marcus Hawes had a medical emergency
20             stemming from Fentanyl intoxication while in custody at the West Valley
21             Detention Center. Marcus Hawes was found unresponsive in his cell and
22             was detained at the West Valley Detention Center for a significant period
23             of time. The medical emergency of Marcus Hawes was unconstitutional
24             insofar that it was caused by San Bernardino County Sheriff’s Department
25             and County’s deliberate indifference to his right to medical care and to be
26             free from harm. This incident similar to the incident with ANTHONY
27             WRIGHT because they occurred in similar circumstances whereby
28             ANTHONY WRIGHT and the prior instance show a custom and practice
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 1             of inmates not being protected from harm that was frequent, consistent
 2             and in place for significant duration.
 3           F. IN-CUSTODY          INJURY        AND    ULTIMATE           DEATH       OF
 4             FRANCISCO RAMIREZ: On March 24, 2022, Francisco Ramirez had
 5             a medical emergency stemming frim Fentanyl intoxication while in
 6             custody at the High Desert Detention Center. Mr. Ramirez had been
 7             detained in San Bernardino County Sheriff’s Department since April of
 8             2021. The medical emergency of Francisco Ramirez was unconstitutional
 9             insofar that it was caused by San Bernardino County Sheriff’s Department
10             and County’s deliberate indifference to his right to medical care and to be
11             free from harm. This incident similar to the incident with ANTHONY
12             WRIGHT because they occurred in similar circumstances whereby
13             ANTHONY WRIGHT and the prior instance show a custom and practice
14             of inmates not being protected from harm that was frequent, consistent
15             and in place for significant duration.
16           G. IN-CUSTODY INJURY AND ULTIMATE DEATH OF BERNARD
17             RAYFORD: On August 8, 2021, Bernard Rayford had a medical medical
18             emergency from sudden cardiac arrest due to phencyclidine (“PCP”)
19             while under the custody of San Bernardino County Sheriff’s Department
20             deputies.     The   medical   emergency     of     Bernard   Rayford     was
21             unconstitutional insofar that it was caused by San Bernardino County
22             Sheriff’s Department and County’s deliberate indifference to his right to
23             medical care and to be free from harm. This incident similar to the incident
24             with ANTHONY WRIGHT because they occurred in similar
25             circumstances whereby ANTHONY WRIGHT and the prior instance
26             show a custom and practice of inmates not being protected from harm that
27             was frequent, consistent and in place for significant duration.
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 1              H. IN-CUSTODY INJURY AND ULTIMATE DEATH OF MARK
 2                 BARELA: On July 28, 2021, Mark Barela had a medical emergency
 3                 stemming from Fentanyl and methamphetamine intoxication while
 4                 detained at the West Valley Detention Center. The medical emergency of
 5                 Mark Barela was unconstitutional insofar that it was caused by San
 6                 Bernardino County Sheriff’s Department and County’s deliberate
 7                 indifference to his right to medical care and to be free from harm. This
 8                 incident similar to the incident with ANTHONY WRIGHT because they
 9                 occurred in similar circumstances whereby ANTHONY WRIGHT and
10                 the prior instance show a custom and practice of inmates not being
11                 protected from harm that was frequent, consistent and in place for
12                 significant duration.
13           107. Approximately one year before the incident subject to this complaint, an
14   other detainee at the Glen Helen Rehabilitation Center had fallen unconscious on the
15   Yard due to dehydration and/ or heat exhaustion, struck his head on the concrete, and
16   died.
17           108. Defendants subjected ANTHONY WRIGHT to their wrongful conduct,
18   depriving ANTHONY WRIGHT of rights described herein, knowingly, maliciously,
19   and with conscious and reckless disregard for whether the rights and safety of
20   ANTHONY WRIGHT, Plaintiff and others would be violated by their acts and/or
21   omissions.
22           109. As a direct and proximate result of the unconstitutional actions, omissions,
23   customs, policies, practices, and procedures of Defendants COUNTY and SBCSD as
24   described above, ANTHONY WRIGHT suffered serious injuries. Plaintiff is entitled
25   to damages, penalties, costs, and attorneys’ fees against Defendants COUNTY and
26   SBCSD.
27   ///
28   ///
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 1                               EIGHTH CLAIM FOR RELIEF
 2                                           Negligence
 3      (By Plaintiff ANTHONY WRIGHT As Against All Defendants Save SBSD)
 4         110. Plaintiff realleges and incorporates herein by reference each of the
 5   preceding paragraphs of this complaint, and any subsequent paragraphs.
 6         111. This action is brought pursuant to §§ 820 and 815.2 of the California
 7   Government Code. Under § 820 of the Government Code, as public employees,
 8   Defendants DOES 1-10, inclusive, and each of them, are liable for injuries caused by
 9   their acts or omissions to the same extent as private persons. Under § 815.2 of the
10   Government Code, Defendants SBCSD and COUNTY are vicariously liable for the
11   acts and omissions of its employees committed within the course and scope of their
12   employment.
13         112. At all times, Defendants DOES 1-10, inclusive, owed Plaintiff
14   ANTHONY WRIGHT the duty to act with due care in the execution and enforcement
15   of any right, law, or legal obligation, and to ensure they are not exposed to death or
16   serious bodily injury. Defendants, and each of them, owed these duties of care to
17   ANTHONY WRIGHT WIRGHT by virtue of their law enforcement contact on April
18   25, 2023.
19         113. On April 25, 2023, Defendants DOES 1-10 breached these duties in
20   multiple respects, including but not limited to the following:
21         A. Placed ANTHONY WRIGHT outside in the scorching sun without water or
22               shade—far beyond the facility’s capacity and in clear violation of policy;
23         B. Placed ANTHONY WRIGHT in a condition after he was injured which
24               exacerbated his injury;
25         C. Placed ANTHONY WRIGHT in a condition where Defendants failed to
26               adequately monitor ANTHONY WRIGHT’s medical condition despite
27               visible signs of medical distress;
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 1          D. Placed ANTHONY WRIGHT in a condition where Defendants failed to
 2               summon or provide prompt medical care after ANTHONY WRIGHT
 3               collapsed;
 4          E. Placed ANTHONY WRIGHT in a condition where Defendants failed to
 5               adequately provide ANTHONY WRIGHT with proper care after he suffered
 6               a heat stroke and instead using excessive force and causing further injury,
 7               resulting in an eventual paralysis.
 8          114. Defendants, through their acts and omissions, breached their duties is care
 9   and constitutional obligations owed to ANTHONY WRIGHT, including the duty to
10   protect him from foreseeable harm, to provide adequate medical attention, and to
11   refrain from using excessive force or exposing him to inhumane conditions, thereby
12   proximately and foreseeably causing ANTHONY WRIGHT’S death catastrophic
13   injuries.
14          115. As a direct and proximate result of Defendants’ breaches of duty,
15   ANTHONY WRIGHT suffered significant medical injuries and experienced immense
16   pain and suffering.
17                                NINTH CLAIM FOR RELIEF
18                       For Violation of the Tom Bane Civil Rights Act
19                                     (Cal. Civ. Code § 52.1)
20        (By Plaintiff ANTHONY WRIGHT against all Defendants Save SBSD)
21          116. Plaintiff realleges and incorporates by reference each of the forgoing
22   paragraphs of this Complaint with the same force and effect as if fully set forth herein.
23          117. The present cause of action is brought pursuant to Cal. Gov. Code §§
24   815.2 and 820 as well as Cal. Civ. Code § 52.1. Under § 820, as a public employee,
25   Defendants DOES 1-10, is liable for injuries caused by their acts or omissions to the
26   same extent as a private person. Under § 815.2, the defendant public entity, SAN
27   BERNARDINO COUNTY, are vicariously liable for injuries caused by the acts or
28   omissions of its employees, officers, and agents, committed within the course and
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 1   scope of that employment, including Defendants DOES 1-10. This cause of action is
 2   not alleging direct liability against Defendant SAN BERNARDINO COUNTY, only
 3   vicarious liability. See Cal. Gov. Code § 815.2 (a-b); Zelig v. County of Los Angeles
 4   (2002) 27 Cal. 4th 1112, 1128.
 5         118. Additionally, Cal. Civ. Code § 52.1(b) authorizes a private right of action
 6   for damages by any person whose constitutional rights are violated by use of threats,
 7   intimidation, or coercion. Importantly, Section 52.1 serves as an analogous state-law
 8   basis for bringing excessive/unreasonable force claims as that provided under the
 9   Fourth Amendment to the United States Constitution. See Chaudhry v. City of Los
10   Angeles, 751 F.3d 1096, 1105–6 (9th Cir. 2014) (citing Cameron v. Craig, 713 F.3d
11   1012, 1022 (9th Cir.2013) (“[T]he elements of the excessive force claim under § 52.1
12   are the same as under § 1983.”)); Bender v. Cnty. of L.A., 217 Cal. App. 4th 968, 976
13   (2013) (“an unlawful [seizure]—when accompanied by unnecessary, deliberate, and
14   excessive force—is [] within the protection of the Bane Act”).
15         119. As previously set forth, Defendants DOES 1-10, intentionally and
16   unlawfully interfered with ANTHONY WRIGHT’s exercise and enjoyment of his civil
17   rights under the laws and Constitutions of the United States and California, including
18   but not limited to the rights to be free from unreasonable excessive force (U.S. Const.
19   amend. IV; and Cal. Const. Art. I § 13), the right to due process (U.S. Const. amend.
20   XIV; and Cal. Const. Art. I § 7(a)), and the right to protection from undue restraint
21   and/or harm to life, liberty, and property (Cal. Const. Art. I § 1).
22         120. Defendants’ conduct—abruptly jerking ANTHONY WRIGHT while he
23   was medically vulnerable, causing him to strike his head on a metal toilet, and failing
24   to provide medical aid—was both coercive and violent. It demonstrated an unlawful
25   use of authority and was designed to punish, control, or dehumanize ANTHONY
26   WRIGHT’s, rather than protect or assist him. Due to the fact of ANTHONY
27   WRIGHT’s appearance, including his race as a Black man, Defendants were
28   emboldened in their belief that they could act with impunity and disregard his rights.
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 1         121. From the moment Defendants DOES 1-10 first confronted ANTHONY
 2   WRIGHT, Defendants DOES 1-10 exhibited baseless hostility and a determined
 3   contempt for the life and wellbeing of ANTHONY WRIGHT. Defendants DOES 1-
 4   10’s lack of reverence for the value of ANTHONY WRIGHT’s life shows that
 5   Defendants DOES 1-10 specifically intended to violate ANTHONY WRIGHT’s rights.
 6         122. The threats, intimidation, and coercive actions by Defendants DOES 1-10
 7   were a substantial factor in causing ANTHONY WRIGHT’s injuries and subsequent
 8   death. These actions constituted a violation of the Bane Act, Cal. Civ. Code § 52.1, and
 9   caused ANTHONY WRIGHT to suffer damages including pain and suffering,
10   emotional distress, and physical injuries that resulted in his permanent paralyzation.
11         123. Clearly, Defendants DOES 1-10 acted with the specific intent to interfere,
12   or attempt to interfere, with ANTHONY WRIGHT’s right to be free from unreasonable
13   seizures through threats, intimidation, and coercion. Their actions were not the result
14   of negligence or mistake, but instead reflected a deliberate and conscious choice to use
15   coercive and violent conduct against ANTHONY WRIGHT, despite his vulnerable
16   condition and clear need for medical attention.
17         124. This specific intent is evidenced by Defendants’ decision to physically
18   mishandle ANTHONY WRIGHT in a manner that caused him to strike his head on a
19   metal toilet, after having already exhibited signs of serious medical distress. Rather
20   than rendering aid, Defendants exploited his weakened state and appearance to justify
21   force, knowing such conduct was unlawful.
22         125. Therefore, as a direct and proximate result of Defendants DOES 1-10’s
23   conduct, ANTHONY WRIGHT suffered severe and catastrophic injuries that
24   ultimately left him paralyzed, drastically altering his life forever and causing him
25   immense mental, physical, and emotional distress and anguish for which he is entitled
26   to compensation.
27         126. Furthermore, as set forth herein, Defendants DOES 1-10 acted with willful
28   and conscious disregard for the rights and wellbeing of ANTHONY WRIGHT, thereby
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 1   subjecting him to cruel and unjust hardship. Accordingly, the actions and omissions of
 2   Defendants DOES 1-10 were malicious and oppressive under the meaning of Cal. Civ.
 3   Code § 3294, entitling Plaintiff to recover punitive as well as compensatory damages
 4   in order to deter future misconduct by the example of Defendants’ punishment.
 5         127. Finally, Plaintiff is also entitled to a multiplier of damages, a civil penalty
 6   of $25,000 and the reasonable value of attorneys’ fees and costs, as authorized under
 7   Cal. Civ. Code § 52.
 8                              TENTH CLAIM FOR RELIEF
 9                    Violation of California Government Code § 845.6
10        (By Plaintiff ANTHONY WRIGHT against all Defendants Save SBSD)
11         128. Plaintiff realleges and incorporates by reference each of the forgoing
12   paragraphs of this Complaint with the same force and effect as if fully set forth herein.
13         129. This action is brought pursuant to §§ 820 and 815.2 of the California
14   Government Code as well as § 845.6. Under § 820 of the Government Code, as public
15   employees, Defendants DOES 1-10, inclusive, and each of them, are liable for injuries
16   caused by their acts or omissions to the same extent as private persons. Under § 815.2
17   of the Government Code, Defendants SBCSD and COUNTY are vicariously liable for
18   the acts and omissions of its employees committed within the course and scope of their
19   employment.
20         130. ANTHONY WRIGHT, required immediate medical care and treatment.
21   However, the Defendants Does 1 through 10, who were employed by Defendants
22   County and SBSD, failed to take reasonable action to summon immediate medical care
23   and treatment. Each individual defendant had knowledge of or reason to know about
24   ANTHONY WRIGHT 's need for immediate medical care and treatment, yet they
25   failed to take reasonable action to summon such care and treatment. This conduct of
26   the defendants is in violation of California Government Code § 845.6.
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 1         131. Defendants COUNTY and SCSD are vicariously liable for the violations
 2   of state law and conduct of their officers, deputies, employees, and agents, including
 3   individual named defendants, under California Government Code § 815.2.
 4         132. As a direct and proximate result of the aforementioned acts of these
 5   Defendants, ANTHONY WRIGHT was injured as set forth above, and their losses
 6   entitle Plaintiff to all damages allowable under California law. Plaintiff sustained
 7   serious and permanent injuries and is entitled to damages, penalties, costs, and attorney
 8   fees under California law, including punitive damages against these individual
 9   Defendants.
10                                  REQUEST FOR RELIEF
11         Wherefore, Plaintiffs respectfully request that the Court enter a judgment as
12   follows:
13         A.      General Damages in excess of the mandatory amount for jurisdiction in
14                 the Unlimited Superior Court;
15         B.      Non-Economic Damages in excess of the mandatory amount for
16                 jurisdiction in the Unlimited Superior Court;
17         C.      Special damages including damages for medical bills;
18         D.      Punitive damages as to individual peace officer defendants;
19         E.      Attorney’s fees pursuant to State Law (CCP § 1021.5 & private attorney
20                 general doctrine);
21         F.      Penalties under the Bane Act;
22         G.      A multiplier of damages including treble damages pursuant to Civil
23                 Section 52;
24         H.      Interest;
25         I.      All other remedies awarded by the Court;
26         J.      All other damages, penalties, costs, interest, and attorneys’ fees as allowed
27                 by 42 U.S.C. §§ 1983 and 1988; and as otherwise may be allowed by
28                 California and/or federal law.
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 1   Dated: April 15, 2025            LAW OFFICES OF CHRISTIAN CONTRERAS
 2
                                          A PROFESSIONAL LAW CORPORATION

 3
                                      By:
 4
                                      Christian Contreras, Esq.
 5                                    Attorney for Plaintiffs,
                                      ANTHONY WRIGHT, et al.
 6

 7                               DEMAND FOR JURY TRIAL
 8         Plaintiffs, ANTHONY WRIGHT, individually and as personal representation of
 9   L.W., a minor, H.W., a minor, and A.G., a minor, and NICOYA WRIGHT, hereby
10   make a demand for a jury trial on all claims for relief in this action.
11   Dated: April 15, 2025            LAW OFFICES OF CHRISTIAN CONTRERAS
                                          A PROFESSIONAL LAW CORPORATION
12

13
                                      By:
14                                    Christian Contreras, Esq.
                                      Attorney for Plaintiffs, ANTHONY WRIGHT, et al.
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